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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                         §              CASE NO. 17-32332
                                               §              CHAPTER 7
 AXON RIG CONCEPT & DESIGN,                    §
 LLC                                           §              JUDGE BOHM
      DEBTOR                                   §


              SUMMARY OF PROPOSED EMPLOYMENT APPLICATION


 NAME OF TRUSTEE:                                                     Rodney D. Tow

 NAME OF PROFESSIONAL TO BE EMPLOYED:                          William G. West, P.C., C.P.A.

                                                      Review of accounting and financial records;
 REASON EMPLOYMENT IS NEEDED:
                                                   consultation services; and preparation of tax returns

 COMPENSATION AGREEMENT:                                Hourly fee basis subject to Court approval

                                                      Accounting firm has a great deal of experience
 TRUSTEE'S REASON FOR SELECTION:                   involving bankruptcy litigation support and bankruptcy
                                                                 & insolvency tax matters.

 REASON EMPLOYMENT IS IN THE BEST INTEREST
                                                                            n/a
 OF THE ESTATE (ONLY IF TRUSTEE'S OWN FIRM):
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                            §
 AXON RIG CONCEPT & DESIGN, LLC                   §        CASE NO. 17-32332
                                                  §        CHAPTER 7
                                                  §
DEBTOR                                            §        JUDGE BOHM

            APPLICATION TO EMPLOY THE ACCOUNTING FIRM OF
        WILLIAM G. WEST, P.C., C.P.A. AS ACCOUNTANT FOR THE ESTATE;
         AFFIDAVIT; ORDER; AND CERTIFICATE OF SERVICE THEREON

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

The Application of Rodney D. Tow, the duly qualified and acting Trustee, respectfully alleges:

1.     The Trustee has determined that it may be necessary to have an Accountant in accordance with
       11 U.S.C. § 327(a) of the U.S. Bankruptcy Code; and requests that this Application be allowed.

                        Necessity of Accountant and Services Required

2.     To perform his duties as Trustee pursuant to 11 U.S.C. § 704(a)(2) and (4), Applicant may
       require the services of an Accountant.

       The Trustee believes an Accountant may be necessary to:

      a.       Prepare Federal and/or State Tax Returns as required and to represent the Trustee in
               audits and other dealings with the Internal Revenue Service and other government
               authorities in tax-related matters for this bankruptcy case;
      b.       Reconstruct the books and records of the Debtor’s to the extent necessary;
      c.       Prepare a list of missing records needed to complete the analysis of the Debtor’s
               financial operations and transactions;
      d.       Perform tracing of funds in and out of the Debtor's bank accounts and account
               records.

3.     William G. West will be the lead accountant in the case. Mr. West and his firm have represented
       more than twenty-five bankruptcy trustees over the last twenty-seven years and are very
       experienced in handling all types of accounting and tax matters for bankruptcy trustees. William
       G. West, P.C., C.P.A. at 12345 Jones Road, Suite 214, Houston, TX 77070; telephone # (281)
       807-7811, has received a copy of the U.S. Trustee's Guidelines on Fee Applications for
       Professionals, has read and understands the same, and will follow such guidelines in all fee
       applications.
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4.   The services, on behalf of the Chapter 7 Trustee for which compensation will be requested and
     expense will be sought will be requested pursuant to 11 U.S.C. §§ 330(a), 331, and 503(a) and
     (b), and Rule 2014 and 2016, Fed. R. Bankr. P.

5.   In accordance with Rule 2016(b), the firm of William G. West, P.C., C.P.A. may be entitled to
     receive compensation only in accordance with this Court's order, and William G. West, P.C.,
     C.P.A. has no arrangements with any other parties whatsoever to pay William G. West, P.C.,
     C.P.A. for the services of William G. West, P.C., C.P.A. to the Estate, nor has William G. West,
     P.C., C.P.A. received any funds from any parties whatsoever for the services rendered to the
     Estate. Further, William G. West, P.C., C.P.A. has not made any arrangement to share any
     compensation received by order of this Court with any party whatsoever, nor does William G.
     West, P.C., C.P.A. have any arrangements for sharing of any compensation awarded except as
     between members and/or regular associates of William G. West, P.C., C.P.A.

6.   The professionals and paraprofessionals requesting fees and the ordinary hourly rate charged by
     each is as follows:
                                               Rate                        Year
       William G. West, CPA              $      330.00                1/1/19 to Current
       Roger D. Martin, CPA              $      285.00                1/1/19 to Current
       Paraprofessionals                 $      140.00                1/1/19 to Current

      Experience of the professionals requesting fees is as follows:

       a.        William G. West, CPA is the owner of the firm of William G. West, P.C., C.P.A.
                 He has been representing Trustees in the Southern, Eastern, Western and Northern
                 Districts of Texas as a CPA for over twenty-seven (27) years. He has previously
                 practiced with National and Local CPA firms. He was formerly a Chapter 7
                 Bankruptcy Trustee for the McAllen and Brownsville Divisions of the Southern
                 District of Texas. He was also a Chapter 7 Trustee in the Houston Division for over
                 fifteen (15) years. He has also served as a Chapter 11 Trustee, Liquidating Trustee
                 and Examiner in numerous cases. Additionally he has served as a Special Master in
                 the U.S. District Court for the Southern District of Texas. He is a member of the
                 American Institute of Certified Public Accountants (AICPA) and the Texas Society
                 of Certified Public Accountants (TSCPA). He has received the "Certified in
                 Financial Forensics" (CFF) designation by the AICPA.

       b.        Roger D. Martin, CPA is an associate in the firm. He graduated from McNeese State
                 University with a Bachelor of Science degree in Accounting, and has been practicing
                 accounting for approximately thirty-six (36) years in national and local firms. He is
                 Certified in Financial Forensics (CFF) by the American Institute of Certified Public
                 Accountants. He graduated from the University of Houston Law Center with a
                 Doctor of Jurisprudence degree, and is licensed as an attorney in Texas. He is a
                 member of the American Institute of Certified Public Accountants, the Texas Society
                 of Certified Public Accountants, the Bar of the United States Tax Court, and the
                 State Bar of Texas. He has authored twelve nationally-published articles on
                 bankruptcy taxation.
                   Accountants. He graduated from the University of Houston Law Center with a
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                   Doctor of Jurisprudence      Filed
                                           degree, and in TXSB on
                                                       is licensed as 02/15/19
                                                                      an attorney Page  4 ofHe
                                                                                  in Texas.  6 is a
                    member of the American Institute of Certified Public Accountants, the Texas Society
                    of Certified Public Accountants, the Bar of the United States Tax Court, and the
                    State Bar of Texas. He has authored twelve nationally-published articles on
                    bankruptcy taxation.

         c.         Paraprofessionals/paralegals are billed at the hourly rate of $140.00. Courts will
                    approve the payment of paraprofessional fees that go beyond mere clerical work. In
                    re: Orthopedic Technology Inc., 97 B.R. 596 (Bankr. D. Colo. 1989).

         The ordinary rates charged in this case are the same as the firm charges to its non-
         bankruptcy clients. On occasion the Accountant will hire additional staff on a contract basis.

7.    To the best of my knowledge, information and belief, William G. West, P.C., C.P.A., members
      and associates, are a disinterested person within the meaning of 11 U.S.C. §101(14) and is
      eligible to serve as Accountants for the estate and the Trustee pursuant to the provisions of 11
      U.S.C. § 327(a). William G. West, P.C., C.P.A. represents no interest adverse to the Trustee or
      the Estate in the matters upon which this firm is to be engaged by Trustee, and this firm has no
      connections with the Debtor(s), any creditors, any other parties in interest, or their respective
      attorneys and accountants. William G. West, P.C., C.P.A. has represented and currently
      represents the Trustee in many other bankruptcy cases in which he has been appointed as a
      Trustee. In addition, William G. West, P.C., C.P.A. and its members have no connections with
      the United States Trustee or their employees other than in their official capacity. The
      Accountant was a Chapter 7 Trustee in the Southern District of Texas, although he is not the
      Trustee in this case.

8.    The effective date of employment is the date of the filing of the Application Authorizing
      Employment of Accountant. Thereafter, the services performed by Accountant for the period
      beginning on the date of the filing under this Application are deemed contemporaneous as they
      were performed within thirty (30) days of the filing. (See Local Rule 2014 (b)(1))

9.    The Accountant, and other members and associates of William G. West, P. C., C.P.A. are
      accountants duly licensed to practice and have a particular expertise with regard to bankruptcy
      litigation support, forensic accounting, debtor workouts, corporate reorganization and
      debtor/creditor matters in cases under the Bankruptcy Code.

Expenses incurred in the ordinary course of business are fully documented by the books and records of
William G. West, P. C., C.P.A. and in fee application(s). All such expenses incurred shall be for the
benefit of the Trustee and the Estate.

WHEREFORE PREMISES CONSIDERED, Applicant prays that William G. West, P. C., C.P.A.
and/or the Accounting firm of William G. West, P. C., C.P.A., be authorized to act as Accountant for
the Estate with compensation for such accounting services to be paid as an administrative expense in
such amounts as this Court may hereafter determine and allow.
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DATED this the 15th day of February, 2019.              Respectfully Submitted,
                                                        /s/ Rodney D. Tow
                                                        Rodney D. Tow, Chapter 7 Trustee
                                                        1122 Highborne Cay Court
                                                        Texas City, TX 77590-1403
                                                        (281) 429-8301

                                  CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing Application to Employ Accountant has
been served upon the United States Trustee, on this the 15th day of February, 2019.


                                                            /s/ William G. West
                                                           William G. West
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